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               EXHIBIT G
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              Department of Correction            6.12               4/1/2011

                                         Supersedes
                   ADMINISTRATIVE
                                                 Sexual Assault Prevention Policy, dated 8/15/2009
                      DIRECTIVE
Approved By                              Title

                                             Sexual Assault Prevention and Intervention Policy
        Commissioner Leo C. Arnone

      1.      Policy. The Department of Correction shall maintain a zero tolerance
              policy on sexual assault that actively identifies and monitors any inmate
              who exhibits characteristics of a victim or predator. Each facility shall
              establish procedures for sexual assault prevention and intervention.

      2.      Authority and Reference.

              A.     Public Law 108-79, Prison Rape Elimination Act of 2003.
              B.     Connecticut General Statutes, Sections 18-81, 53a-70, 53a-71, 53a-
                     71a, 53a-72a and 53a-73a.
              C.     Administrative Directives 1.6, Monthly and Annual Reports; 1.10,
                     Investigations; 2.7, Training and Staff Development; 6.1, Tours and
                     Inspections; 6.6, Reporting of Incidents; 6.9, Control of Contraband
                     and Physical Evidence; 8.13, Sex Offender Programs; and 10.12,
                     Inmate Orientation.
              D.     University of Connecticut Health Center, Correctional Managed Health
                     Care, Policy G9.01, Sexual Contact/Assault.
              E.     American Correctional Association, Standards for Adult Correctional
                     Institutions, Fourth Edition, January 2003, Standards 4-4281-1
                     through 4-4281-8 and 4-4406.
              F.     American Correctional Association, Performance-Based Standards for
                     Adult Local Detention Facilities, Fourth Edition, June 2004,
                     Standards 4-ALDF-2A-29, 4-ALDF-4D-22, 4-ALDF-4D-22-1 through 4-ALDF-
                     4D-22-8 and 4-ALDF-7B-10.
              G.     National Commission on Correctional Health Care, Prison Health
                     Standards, 2003, Standard P-G-09.

      3.      Definitions and Acronyms. For the purposes stated herein, the following
              definitions and acronyms apply:

              A.     Abusive Sexual Contact. The intentional touching, either directly or
                     through the clothing, of the genitalia, anus, breasts, inner thigh
                     or buttocks of another person without his or her consent, or of a
                     person who is unable to consent or refuse. Abusive sexual contact
                     shall also include any unwanted and/or forced kissing and hugging.
              B.     CONNSACS. Connecticut Sexual Assault Crisis Services.
              C.     HIV. Human Immunodeficiency Virus.
              D.     Nonconsensual Sexual Act. The intentional contact between the penis
                     and the vagina or the penis and the anus including penetration,
                     however slight; OR contact between the mouth and penis, vagina, or
                     anus; OR penetration of the anal or vaginal opening of another
                     person by a hand, finger, or another object without his or her
                     consent, or of a person who is unable to consent or refuse.
              E.     PREA. Prison Rape Elimination Act.
              F.     Separation Profile. A record specifying the need and reason for
                     keeping two (2) or more individuals apart from each other.
              G.     Sexual Assault. For the purposes of this Directive, sexual assault
                     shall be a collective term encompassing the definitions of Abusive
                     Sexual Contact, Nonconsensual Sexual Act, Staff Sexual Harassment
                     and/or Staff Sexual Misconduct.
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             H.       Sex Offender Programs. Services which may include orientation,
                      psychoeducational groups, individual counseling, group counseling,
                      pharmacological interventions, discharge planning, and other
                      clinical interventions.
             I.       Staff Sexual Harassment. Any behavior or act of a sexual nature
                      directed toward an inmate by an employee, volunteer, official
                      visitor, or other agency representative, to include sexual
                      relationships of a romantic nature between staff and inmates.
             J.       Staff Sexual Misconduct. Behavior that includes repeated verbal
                      statements, comments or gestures of a sexual nature to an inmate by
                      an employee, volunteer, official visitor, or other agency
                      representative.
             K.       STARS. Statistical Tracking Analysis Reporting System.

        4.   Staff Training. Each direct contact employee shall receive training in
             sexual assault prevention and related topics in accordance with
             Administrative Directive 2.7, Training and Staff Development.

             A.       Pre-Service Orientation Training. Newly hired staff with direct
                      inmate contact shall receive training on sexual assault prevention
                      prior to being assigned to a facility. Staff shall be trained to:

                      1.      have a general understanding of the Prison Rape Elimination
                              Act (PREA);
                      2.      identify sexual assault as it occurs in jails and prisons;
                      3.      identify the traits and characteristics of the potential
                              victim;
                      4.      identify the traits and characteristics of the potential
                              predator;
                      5.      identify Rape Trauma Syndrome;
                      6.      identify staff intervention practices; and,
                      7.      discuss crime scene preservation protocol for sexual assault.

             B.       In-Service Training. Staff with direct inmate contact shall receive
                      refresher training on sexual assault prevention annually.
             C.       Roll Call Notices. Each facility shall update staff as needed via
                      roll call notices as directed by the Unit Administrator in
                      consultation with the Director of Health and Addiction Services.

        5.   Inmate Orientation. Each inmate upon admission to the Department shall
             receive orientation that includes a presentation of the “Sexual Assault
             Prevention for Inmates” video in accordance with Administrative Directive
             10.12, Inmate Orientation. Each inmate shall sign the designated form
             acknowledging receipt of sexual assault materials.

             Inmates assigned to the Northern Correctional Institution shall receive a
             “Sexual Assault Prevention for Inmates” handout as well as the Inmate
             Handbook with information regarding the Prison Rape Elimination Act and
             personal safety. In addition, upon admission, the orientation counselor
             shall meet with each inmate in order to familiarize the inmate with the
             written orientation materials.

        6.   Victim Profile. The following represents characteristics or traits that
             may subject an inmate to sexual assault:

             A.       Vulnerable;
             B.       Non-violent;
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             C.       Young or youthful in appearance;
             D.       Small physical stature;
             E.       First time incarcerated or new to the facility;
             F.       Effeminate (e.g., beardless, smooth skinned, more feminine in
                      appearance, etc.);
             G.       Homosexual or transgender;
             H.       Engaging in promiscuous or provocative behavior;
             I.       Lacking street smarts;
             J.       Mental illness or intellectual disability/deficit;
             K.       Physical disabilities;
             L.       Past victim of sexual assault; and/or,
             M.       Convicted of a sex crime.

             It is important to note that the above list is not all inclusive and an
             inmate may not exhibit any of the traits listed above prior to an incident
             of victimization.

        7.   Predator Profile. The predator in a male on male or female on female
             sexual assault does not necessarily perceive himself/herself as being
             homosexual. Often, the perpetrator is hypermasculine and utilizes
             aggression to gain a sense of importance. The sexual predator will watch
             and wait until the right type of inmate is accessible and create the
             opportunity to begin the “grooming” of the targeted inmate. The typical
             predator may demonstrate one or more of these character traits:

             A.       Violent history (street smart and an experienced fighter);
             B.       History of sexually assaulting other inmates;
             C.       History of being sexually assaulted;
             D.       Large physical stature;
             E.       Mentally challenged;
             F.       Possesses power and authority (feared by most inmates and staff);
             G.       Recidivist (experienced in prison culture);
             H.       Has an antisocial personality;
             I.       More verbal, aggressive and extroverted (extremely self-confident);
             J.       Manipulative;
             K.       Engages in other criminal activity as well; and/or,
             L.       Objectifies women (uses pornography personally as well as using it
                      to barter with, and to manipulate other inmates).

        8.   Staff Awareness. Staff awareness is an important component for curtailing
             sexual assault. Staff shall focus on identifying potential signs of
             victimization and intervene before the incident occurs. Staff shall treat
             any observation of sexual activity as a potential sexual assault. Staff
             may gain awareness through:

             A.       the discovery of a sexual assault in progress or the observation of
                      an incident, which includes sexual threats or pressure.
             B.       a victim’s report of an incident that has occurred.
             C.       information provided by a third party inmate.
             D.       the discovery of medical evidence of a sexual assault during an
                      examination.
             E.       overhearing inmates discussing an incident involving sexual assault.
             F.       unlikely friendships that develop that raise curiosity such as an
                      older, more experienced inmate befriending a younger, less
                      experienced inmate.
             G.       an inmate displaying some of the characteristics of Rape Trauma
                      Syndrome:
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                      1.      Sleep difficulties;
                      2.      Disturbed eating habits;
                      3.      Symptoms specific to the attack;
                      4.      Startled reactions;
                      5.      Withdrawn;
                      6.      Emotional expressions such as crying, shaking;
                      7.      Isolates from others; and/or,
                      8.      Extremely over alert.

              An inmate may fit some of the characteristics associated with the victim
              profile.

        9.    Sexual Assault Prevention.

              A.      On Intake to the Facility. During intake, staff shall determine
                      through the appropriate classification means if a victim/predator
                      profile exists. If a victim/predator profile exists, the staff
                      member discovering such profile shall verbally report the profile to
                      the Shift Commander or designee.
              B.      While Housed at the Facility. Staff shall conduct random tours
                      throughout their area(s) of responsibility in accordance with
                      Administrative Directive 6.1, Tours and Inspections. The use of
                      video surveillance cameras shall be used to augment staff tours for
                      increased observation. Each facility shall identify blind spots
                      where sexual assaults are at higher risk of occurring and develop a
                      strategy to compensate for such areas.

        10.   Staff Monitoring and Intervention. All staff shall report any instance of
              alleged or actual sexual assault/victimization to a shift supervisor as
              soon as practical and provide documentation in accordance with
              Administrative Directive 6.6, Reporting of Incidents.

              A.      Staff Action. If a staff member suspects or an inmate alleges that
                      he/she or another inmate may have suffered a sexual assault or
                      victimization, the following actions shall be implemented:

                      1.      Identify, separate and secure inmates involved, if necessary.
                      2.      Identify the crime scene and maintain the integrity of the
                              scene for evidence gathering.
                      3.      Notify a shift supervisor of the incident as soon as
                              practical.
                      4.      Do not allow any inmates involved to shower, wash, drink, eat,
                              defecate, or change underwear until examined.
                      5.      Document incident on CN 6601, Incident Report and forward to a
                              shift supervisor in accordance with Administrative Directive
                              6.6, Reporting of Incidents.

              B.      Supervisory Action. In addition to the requirements of Section 10(A)
                      above, the supervisor shall:

                      1.      Contact the facility duty officer and the Connecticut State
                              Police as soon as practical.
                      2.      Alert health services staff as soon as practical. Escort the
                              victim to the Health Services Unit for a private medical and
                              mental health assessment as soon as possible.
                      3.      Take appropriate steps in order that the victim is not left
                              alone.
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                      4.      Explain to the victim that there is help available to cope
                              with the situation.
                      5.      Offer or make arrangements for the victim to speak with the
                              facility’s religious service representative.
                      6.      Complete all necessary reports in accordance with this
                              Directive and Administrative Directive 6.6, Reporting of
                              Incidents.

              C.      All Employees. Each employee shall:

                      1.      Avoid labeling the victim or predator by using slang or
                              inappropriate words.
                      2.      Treat a sexual assault incident as a confidential matter.
                      3.      Recognize that sexual assault survivors may engage in sexual
                              acts, which present an appearance of being consensual out of
                              desire for protection from violent assaults and to minimize
                              risk of HIV infection.
                      4.      Treat known survivors and targets of sexual assault fairly and
                              without discrimination.
                      5.      Become familiar with your area of responsibility and identify
                              vulnerable sites for potential sexual activity.

        11.   Evidence Protocol/Securing the Area. The area of any attempted or actual
              sexual assault shall be treated as a possible crime scene in accordance
              with Administrative Directive 6.9, Control of Contraband and Physical
              Evidence. Once the inmate is removed from the area, care shall be taken
              not to disturb the suspected crime scene. Items shall not be cleansed or
              removed. Photos shall be taken of the suspected crime scene and any
              suspected physical evidence. Sketches and notes should be made of the cell
              and location if items removed. Only authorized personnel shall be allowed
              to enter the area. The collection of physical evidence shall be conducted
              by the Connecticut State Police or in instances when authorized by the
              Connecticut State Police, the Department shall collect, secure and store
              physical evidence. If required, Department personnel shall collect
              evidence as follows:

              A.      Latex or rubber gloves shall be used.
              B.      Each specific item of physical evidence shall be placed in a
                      separate paper bag, envelope or container so as to avoid disturbing
                      or compromising the integrity of the physical evidence.
              C.      The storage container shall be tagged utilizing CN 6901,
                      Contraband/Physical Evidence Tag and Chain of Custody.
              D.      Physical evidence items when removed from the scene shall be placed
                      directly in the physical evidence storage area or turned over to the
                      appropriate law enforcement agency.
              E.      Once the Connecticut State Police have cleared the scene, the Unit
                      Administrator or designee may issue the orders for the cell to be
                      cleaned and inventoried.

        12.   Investigation of Sexual Assaults. The Connecticut State Police shall serve
              as the investigating authority in all incidents of sexual assault within
              the Department of Correction. The Department’s Security Division shall
              assist the Connecticut State Police as appropriate and shall conduct an
              internal investigation into the incident in accordance with Administrative
              Directive 1.10, Investigations.
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              In the event the Connecticut State Police decline to investigate a sexual
              assault allegation, the Director of Security may forward the case to the
              appropriate District/Unit Administrator for investigation. At the
              completion of the investigation, the District/Unit Administrator shall
              forward a copy of the outcome/findings to the Director of Security.
              However, if during the investigation, evidence or information is
              discovered that corroborates the inmate’s allegation of sexual assault,
              staff shall suspend the investigation at the point of discovery and
              contact the Connecticut State Police and the Director of Security.

        13.   Classification. Victims/alleged victims of sexual assault and
              predators/alleged predators shall be identified and tracked. Inmates
              involved in sexual assaults shall be kept separate from each other by
              means of a separation profile utilizing CN 9902, Separation Profile
              Entry/Update/Deletion Request. The establishment or modification of a
              separation profile, to include updating the appropriate RT screen(s),
              shall be completed in accordance with Administrative Directive 9.2,
              Offender Classification.

              Inmates who are identified as sexual predators or potential sexual
              predators as determined by the Sex Offender Administrator shall be
              appropriately housed at the facility or may be transferred to another
              facility for the purposes of separation from potential victims.

        14.   Victim Support. Victims of sexual assault shall be referred to qualified
              mental health professionals for treatment and follow-up, as necessary.
              Health services staff shall make appropriate referrals to CONNSACS in
              order to provide additional counseling and support for victims/survivors
              of sexual assault.

        15.   Predator Management. Inmates identified as sexual predators shall be
              managed in accordance with Administrative Directive 8.13, Sex Offender
              Programs.

        16.   Reporting. Documentation and reporting of sexual assaults or related
              behavior shall be as follows:

              A.      Internal Reporting. All sexual assaults shall be documented on CN
                      6601, Incident Report in accordance with Administrative Directive
                      6.6, Reporting of Incidents and included in the monthly STARS report
                      in accordance with Administrative Directive 1.6, Monthly and Annual
                      Reports. The STARS report shall list the following categories of
                      sexual assault:

                      1.      Alleged sexual assaults;
                      2.      Abusive sexual contacts;
                      3.      Nonconsensual sexual acts;
                      4.      Staff sexual harassment of inmate; and,
                      5.      Staff sexual misconduct toward an inmate.

              B.      External Reporting. Annually, sexual assault statistics shall be
                      provided to the United States Department of Justice (Bureau of
                      Justice Statistics). The annual report shall include the statistics
                      in the following categories:

                      1.      Abusive sexual contacts;
                      2.      Nonconsensual sexual acts;
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                      3.      Staff sexual harassment; and,
                      4.      Staff sexual misconduct.

                      The annual report shall be forwarded to the U.S. Department of
                      Justice (Bureau of Justice Statistics) via Internet transmission to
                      the following address: http://harvester.census.gov/ssv.

              C.      Security Division Tracking. The Department’s Security Division shall
                      track all allegations of sexual misconduct (staff and inmate) to
                      include investigation results and any actions taken by the
                      Department, Connecticut State Police and/or the courts.

        17.   Exceptions. Any exceptions to the procedures in this Administrative
              Directive shall require prior written approval from the Commissioner of
              Correction.
